              Case 20-10553-CTG              Doc 1329-1        Filed 01/28/22        Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 7

ART VAN FURNITURE, LLC, et al.,1                              Case No. 20-10553 (CSS)

                                   Debtors.                   Jointly Administered

                                                              Objection Deadline: Feb. 11, 2022 at 4:00 p.m. (ET)
                                                              Hearing Date: Feb. 22, 2022 at 10:00 a.m. (ET)


    NOTICE OF SECOND OMNIBUS MOTION OF ALFRED T. GIULIANO, CHAPTER 7
              TRUSTEE, TO APPROVE SETTLEMENT AGREEMENTS

                 PLEASE TAKE NOTICE that on January 28, 2022, Alfred T. Giuliano, chapter

7 trustee (the “Trustee”) to the estates of the above-captioned debtors (the “Debtors”), filed the

Second Omnibus Motion of Alfred T. Giuliano, Chapter 7 Trustee, to Approve Settlement

Agreements (the “Motion”), with the United States Bankruptcy Court for the District of

Delaware, 824 Market Street, Wilmington, Delaware 19801 (the “Bankruptcy Court”). A copy

of the Motion is attached hereto.

                 PLEASE TAKE FURTHER NOTICE that any response or objection to the

entry of a final order with respect to the relief sought in the Motion must be filed with the

Bankruptcy Court on or before February 11, 2022, at 4:00 p.m. (Eastern time).

                 PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon: (i) counsel for the Trustee, (a) Pachulski Stang

Ziehl & Jones LLP, 919 N. Market Street, 17th Floor, Wilmington, DE 19801 (Attn: Bradford J.


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   The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509); AVF Holdings
I, LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC (8052); Art Van
Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC (6325); LF
Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463).



DOCS_DE:238012.1 05233/003
              Case 20-10553-CTG      Doc 1329-1     Filed 01/28/22    Page 2 of 3




Sandler, Colin R. Robinson, and Peter J. Keane) bsandler@pszjlaw.com,

crobinson@pszjlaw.com, pkeane@pszjlaw.com; and (ii) the U.S. Trustee; Benjamin A.

Hackman, Office of the United States Trustee, 844 King Street, Suite 2207, Lockbox 35,

Wilmington, DE 19801, benjamin.a.hackman@usdoj.gov.

                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR HEARING.

                 PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE MOTION WILL BE HELD VIA ZOOM

VIDEOCONFERENCE ON FEBRUARY 22, 2022 AT 10:00 A.M. PREVAILING

EASTERN TIME BEFORE THE HONORABLE CHRISTOPHER S. SONTCHI, CHIEF

UNITED STATES BANKRUPTCY JUDGE, AT THE UNITED STATES BANKRUPTCY

COURT FOR THE DISTRICT OF DELAWARE, 824 MARKET STREET, FIFTH FLOOR,

COURTROOM NO. 6, WILMINGTON, DELAWARE 19801.




DOCS_DE:238012.1 05233/003                 2
              Case 20-10553-CTG   Doc 1329-1    Filed 01/28/22    Page 3 of 3




Dated: January 28, 2022             PACHULSKI STANG ZIEHL & JONES LLP


                                    /s/ Peter J. Keane
                                    Bradford J. Sandler (DE Bar No. 4142)
                                    Colin R. Robinson (DE Bar No. 5524)
                                    Peter J. Keane (DE Bar No. 5503)
                                    919 N. Market Street, 17th Floor
                                    P.O. Box 8705
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                                    Counsel to Alfred T. Giuliano, Chapter 7 Trustee




DOCS_DE:238012.1 05233/003             3
